Case No. 1:01-cr-00214-RM Document 3630-1 filed 09/03/08 USDC Colorado pg 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 01-cr-00214-WYD-07

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 7. ZEBEDEE HALL,

                Defendant.


                    WRIT OF HABEAS CORPUS AD PROSEQUENDUM


        TO THE UNITED STATES MARSHAL FOR THE DISTRICT OF COLORADO, OR

 TO ANY OTHER UNITED STATES MARSHAL, AND TO ANY AUTHORIZED OFFICER

 IN WHOSE CUSTODY THE DEFENDANT MAY BE HELD,

 G R E E T I N G S:

        This Writ is issued upon Order of the United States District Court for the District of

 Colorado. We hereby command you that you bring the body of Zebedee Hall, Register # 30428-

 013 now confined in the USP LEAVENWORTH, U.S. PENITENTIARY 1300

 METROPOLITAN LEAVENWORTH, KS 66048, before the Honorable United States District

 Court Judge Wiley Y. Daniel sitting on October 30, 2008, at 2:30 p.m. in Denver, Colorado,

 forthwith and from day to day thereafter, for appearance in the United States District Court for

 the District of Colorado in the above-entitled and pending cause; and to hold the said defendant

 at all times in your custody as an agent of the United States of America; that immediately after

 the conclusion of all proceedings in the above-entitled cause in the United States District Court
Case No. 1:01-cr-00214-RM Document 3630-1 filed 09/03/08 USDC Colorado pg 2 of 2




 for the District of Colorado, you shall return the defendant to the institution where he was

 confined, under safe and secure conduct, and have you then and there this writ pertaining to the

 above named defendant.

        DATED at Denver, Colorado, this ___ day of                      , 2008.

                                               BY THE COURT:




                                       CLERK, UNITED STATES DISTRICT COURT
